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Origin Plant            Date of Dispatch         Express Count
GREEN BAY WI              10/30/2020       3
GRAND RAPIDS MI           10/31/2020       18
GREEN BAY WI              10/31/2020       4
GREEN BAY WI              11/1/2020        6
ORLANDO FL                11/1/2020        6
ALBANY NY                 11/2/2020        41
ANCHORAGE AK              11/2/2020        3
ATLANTA GA                11/2/2020        1
AUSTIN TX                 11/2/2020        8
BAKERSFIELD CA            11/2/2020        1
BALTIMORE MD              11/2/2020        5
BATON ROUGE LA            11/2/2020        63
BIRMINGHAM AL             11/2/2020        147
BOSTON MA                 11/2/2020        166
BUFFALO NY                11/2/2020        2
BURLINGTON VT              11/2/2020       20
CAROL STREAM IL           11/2/2020        1
CEDAR RAPIDS IA           11/2/2020        47
CENTRAL MA                11/2/2020        87
CHARLESTON WV             11/2/2020        48
CHARLOTTE NC              11/2/2020        1
CHEYENNE WY               11/2/2020        1
CHICAGO IL                11/2/2020        9
CINCINNATI OH             11/2/2020        1
CLEVELAND OH              11/2/2020        3
COLUMBIA SC               11/2/2020        30
COLUMBUS OH               11/2/2020        2
DALLAS TX                 11/2/2020        4
DAYTON OH                 11/2/2020        1
DENVER CO                 11/2/2020        3
DES MOINES IA             11/2/2020        86
DULLES VA                 11/2/2020        84
DV DANIELS NJ             11/2/2020        4
EASTERN ME                11/2/2020        26
EL PASO TX                11/2/2020        51
EVANSVILLE IN             11/2/2020        23
FARGO ND                  11/2/2020        120
FAYETTEVILLE NC           11/2/2020        2
FORT MYERS FL             11/2/2020        1
FT WORTH TX               11/2/2020        38
GARY IN                   11/2/2020        1
GRAND JCT CO              11/2/2020        127
GREEN BAY WI              11/2/2020        37
GREENSBORO NC             11/2/2020        2
HARRISBURG PA             11/2/2020        12
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HARTFORD CT               11/2/2020      5
JACKSONVILLE FL           11/2/2020      193
KANSAS CITY MO            11/2/2020      3
KNOXVILLE TN              11/2/2020      185
LAS VEGAS NV              11/2/2020      142
LINTHICUM MD              11/2/2020      142
LOS ANGELES CA            11/2/2020      35
LOUISVILLE KY             11/2/2020      217
LUBBOCK TX                11/2/2020      107
MACON GA                  11/2/2020      74
MANCHESTER NH             11/2/2020      1
MIAMI FL                  11/2/2020      53
MIDLAND TX                11/2/2020      29
MID-MISSOURI MO           11/2/2020      2
MILWAUKEE WI              11/2/2020      33
MOBILE AL                 11/2/2020      75
NASHVILLE TN              11/2/2020      1
NEW YORK NY               11/2/2020      785
NNJ METRO NJ              11/2/2020      3
NORFOLK VA                 11/2/2020     352
NORTH HOUSTON TX          11/2/2020      5
NORTH TEXAS TX            11/2/2020      27
NORTHERN VA VA            11/2/2020      1
NW ARKANSAS AR            11/2/2020      114
OAKLAND CA                11/2/2020      634
OMAHA NE                  11/2/2020      1
ORLANDO FL                11/2/2020      287
PHILADELPHIA PA           11/2/2020      1
PHOENIX AZ                11/2/2020      7
PITTSBURGH PA             11/2/2020      3
QUAD CITIES IL            11/2/2020      182
RALEIGH NC                11/2/2020      1
RICHMOND VA               11/2/2020      5
ROANOKE VA                11/2/2020      1
ROCHESTER NY              11/2/2020      81
S SUBURBAN IL             11/2/2020      1
SACRAMENTO CA             11/2/2020      1
SALT LAKE CTY UT          11/2/2020      222
SAN ANTONIO TX            11/2/2020      6
SAN FRANCISCO CA          11/2/2020      1
SAN JOSE CA               11/2/2020      3
SANTA CLARITA CA           11/2/2020     36
SEATTLE WA                 11/2/2020     1
SHREVEPORT LA              11/2/2020     1
SN BERNARDINO CA           11/2/2020     7
SPOKANE WA                 11/2/2020     4
SPRINGFIELD MO             11/2/2020     4
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ST LOUIS MO               11/2/2020     3
ST PAUL MN                11/2/2020     30
SYRACUSE NY               11/2/2020     9
TACOMA WA                 11/2/2020     2
TAMPA FL                  11/2/2020     2
WASHINGTON DC             11/2/2020     1
WEST PALM BCH FL          11/2/2020     1
WESTCHESTER NY            11/2/2020     6
WICHITA KS                11/2/2020     4
ALBUQUERQUE NM            11/3/2020     89
AUSTIN TX                 11/3/2020     75
BATON ROUGE LA            11/3/2020     14
BIRMINGHAM AL             11/3/2020     80
BOSTON MA                 11/3/2020     4
BURLINGTON VT             11/3/2020     6
CAROL STREAM IL           11/3/2020     357
CENTRAL MA                11/3/2020     130
CHARLESTON WV             11/3/2020     19
CHARLOTTE NC              11/3/2020     197
CLEVELAND OH              11/3/2020     1
COLUMBIA SC               11/3/2020     1
COLUMBUS OH               11/3/2020     6
DENVER CO                 11/3/2020     1
DES MOINES IA             11/3/2020     1
DULLES VA                 11/3/2020     3
DV DANIELS NJ             11/3/2020     1
EASTERN ME                11/3/2020     25
FARGO ND                  11/3/2020     100
GARY IN                   11/3/2020     2
GRAND RAPIDS MI           11/3/2020     2
GREENSBORO NC             11/3/2020     2
GREENVILLE SC             11/3/2020     518
HARRISBURG PA             11/3/2020     8
HONOLULU HI               11/3/2020     2
JACKSONVILLE FL           11/3/2020     5
LAS VEGAS NV              11/3/2020     295
LEHIGH VALLEY PA          11/3/2020     3
LINTHICUM MD              11/3/2020     5
LOS ANGELES CA            11/3/2020     4
LOUISVILLE KY             11/3/2020     216
LUBBOCK TX                11/3/2020     6
MANCHESTER NH             11/3/2020     23
MEMPHIS TN                11/3/2020     1
METROPLEX MI              11/3/2020     1
MIAMI FL                  11/3/2020     1
MID-HUDSON NY             11/3/2020     360
MILWAUKEE WI              11/3/2020     35
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MOBILE AL                11/3/2020     16
MONTGOMERY AL            11/3/2020     1
NEW YORK NY              11/3/2020     350
NNJ METRO NJ             11/3/2020     1
NORFOLK VA               11/3/2020     5
NORTH HOUSTON TX         11/3/2020     1
NORTH TEXAS TX           11/3/2020     1
NORTHERN VA VA           11/3/2020     1
NW ARKANSAS AR           11/3/2020     1
OAKLAND CA               11/3/2020     628
ORLANDO FL               11/3/2020     3
PHILADELPHIA PA          11/3/2020     1
PHOENIX AZ               11/3/2020     2
PITTSBURGH PA            11/3/2020     6
QUAD CITIES IL           11/3/2020     394
QUEENS NY                11/3/2020     2
RALEIGH NC               11/3/2020     1
RICHMOND VA              11/3/2020     3
ROCHESTER NY             11/3/2020     86
SALT LAKE CTY UT         11/3/2020     666
SAN JOSE CA              11/3/2020     3
SN BERNARDINO CA         11/3/2020     6
SPOKANE WA               11/3/2020     359
ST LOUIS MO              11/3/2020     3
ST PAUL MN               11/3/2020     34
SUBURBAN MD MD           11/3/2020     1
WASHINGTON DC            11/3/2020     2
WILMINGTON DE            11/3/2020     1
